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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


                                              )
 UNITED STATES OF AMERICA,                    )
                                              )
 v.                                           )       Criminal Case No. 22-cr-00007-LKG
                                              )
 MARILYN J. MOSBY,                            )       Dated: January 23, 2023
                                              )
        Defendant.                            )
                                              )

                                            ORDER
       The parties shall participate in a status conference to be held via videoconference on
Friday, January 27, 2023, at 11:00 a.m. Eastern Time, to discuss Defense Counsel’s motion
to withdraw (ECF No. 174). The Defendant shall also be present.

       The Court will provide the parties via email with a Zoom link and passcode. Members of
the public may dial into this proceeding. Public access line information may be found on the
Court’s public calendar. Participating on the videoconference will be the counsel of record for
each party and the Office of the Federal Public Defender.

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IT IS SO ORDERED.

                                       s/ Lydia Kay Griggsby
                                       LYDIA KAY GRIGGSBY
                                       United States District Judge




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